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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                                  :
 COSMOPOLITAN SHIPPING CO., INC.,                                 :
                            Plaintiff,                            :
                                                                  :       18 Civ. 3167 (LGS)
                            -against-                             :
                                                                  :             ORDER
 CONTINENTAL INSURANCE COMPANY, et al.,                           :
                                              Defendants.         :
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        WHEREAS, on January 22, 2021, the Court issued its findings of fact and conclusions of law (“FFCL”)

following an evidentiary hearing held on August 25 and September 2, 2020. It is hereby

        ORDERED that, for the reasons stated in the FFCL, all claims of Plaintiff against Defendant Continental

Insurance Company are dismissed with prejudice.

The Clerk of Court is respectfully directed to terminate Defendant Continental Insurance Company from this case.



Dated: March 5, 2021
       New York, New York
